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               Exhibit A
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The full ‘Putin list’ of Russian oligarchs and political
figures released by the US Treasury
   cnn.com/2018/01/30/politics/full-us-list-of-russian-oligarchs-with-putin-ties-intl/index.html

By Sheena McKenzie, Nicole Gaouette and Donna Borak, CNN                                           January 30, 2018




Video Ad Feedback

01:47 - Source: CNN
US names Russian oligarchs in 'Putin list'

CNN —

It’s been dubbed the “Putin list” – the names of 210 prominent Russians, many with close
ties to the Kremlin, released by the US Treasury Department.

US releases list of Russian oligarchs, political figures

The list, which the US administration had been required by law to release, includes 114 senior
political figures and 96 oligarchs, all of whom rose to prominence under Russian President
Vladimir Putin.


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The administration was required to name the
companies and individuals and consider whether to
sanction them under legislation meant to punish
Russia for its interference in the 2016 US election, as
well as its human rights violations, annexation of
Crimea and ongoing military operations in eastern
Ukraine.

The list, which includes senior members of Putin’s
Cabinet and Chelsea Football Club owner Roman Abramovich, reads like the US has “simply
rewritten Kremlin’s phone book,” said Russian senator Konstantin Kosachev in a Facebook
Post.

Here it is in full. (Note: Names, spellings and titles are those provided by the US Treasury
Department.)


Senior Political Figures
Presidential Administration

1. Anton Vayno: Head, Presidential Administration

2. Aleksey Gromov: First Deputy Head, Presidential Administration

3. Sergey Kiriyenko: First Deputy Head, Presidential Administration

4. Magomedsalam Magomedov: Deputy Head, Presidential Administration

5. Vladimir Ostrovenko: Deputy Head, Presidential Administration

6. Dmitriy Peskov: Deputy lead, Presidential Administration; Presidential Press Secretary

7. Vladislav Kitayev: Chief of Presidential Protocol

8. Andrey Belousov: Aide to the President

9. Larisa Brycheva: Aide to the President

10. Vladislav Surkov: Aide to the President

11. Igor Levitin: Aide to the President

12. Vladimir Kozhin: Aide to the President

13. Yuriy Ushakov: Aide to the President

14. Andrey Fursenko: Aide to the President

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15. N ikolay Tsukanov: Aide to the President

16. Konstantin Chuychenko: Aide to the President

17. Yevgeniy Shkolov: Aide to the President

18. Igor Shchegolev: Aide to the President

19. Aleksandr Bedritskiy: Adviser to the President, Special Presidential Representative on
Climate Issues

20. Sergey Glazyev: Adviser to the President

21. Sergey Grigorov: Adviser to the President

22. German Klimenko: Adviser to the President

23. Anton Kobyakov: Adviser to the President

24. Aleksandra Levitskaya: Adviser to the President

25. Vladimir Tolstoy: Adviser to the President

26. Mikhail Fedotov: Adviser to the President, Chairman of the Presidential Council for Civil
Society and Human Rights

27. Venyamin Yakovlev: Adviser to the President

28. Artur Muravyev: Presidential Envoy to the Federation Council

29. Garry Minkh: Presidential Envoy to the State Duma

30. Mikhail Krotov: Presidential Envoy to the Constitutional Court

31. Anna Kuznetsova: Presidential Commissioner for Children’s Rights

32. Boris Titov: Presidential Commissioner for Entrepreneurs’ Rights

33. Mikhail Babich: Plenipotentiary Representative to the Volga Federal District

34. Aleksandr Beglov: Plenipotentiary Representative to the Northwestern Federal District

35. Oleg Belaventsev: Plenipotentiary Representative to the North Caucasus Federal District

36. Aleksey Gordeyev: Plenipotentiary Representative to the Central Federal District

37. Sergey Menyaylo: Plenipotentiary Representative to the Siberian Federal District



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38. Yuriy Trutnev: Deputy Prime Minister, Plenipotentiary Representative to the Far Eastern
Federal District

39. Vladimir Ustinov: Plenipotentiary Representative to the Southern Federal District

40. Igor Kholrnanskikh: Plenipotentiary Representative to the Urals Federal District

41. Aleksandr Manzhosin: Head, Foreign Policy Directorate

42. Vladimir Chemov: Head, Directorate for Interregional and Cultural Ties to Foreign
Countries

43. Oleg Govorun: Head, Directorate for Social and Economic Relations with the
Commonwealth of Independent States, Abkhazia, and South Ossetia

Cabinet Ministers

44. Drnitriy Medvedev: Prime Minister

45. Igor Shuvalov: First Deputy Prime Minister

46. Sergey Prikhodko: Deputy Prime Minister and Head of the Government Apparatus

47. Aleksandr Khloponin: Deputy Prime Minister

48. Vitaliy Mutko: Deputy Prime Minister

49. Arkadiy Dvorkovich: Deputy Prime Minister

50. Olga Golodets: Deputy Prime Minister

51. Dmitriy Kozak: Deputy Prime Minister

52. Drnitriy Rogozin: Deputy Prime Minister

53. Mikhail Abyzov: Minister for Liaison with Open Government

54. Aleksandr Tkachev: Minister of Agriculture

55. Vladimir Puchkov: Minister of Civil Defense, Emergencies, and Natural Disasters

56. Nikolay Nikiforov: Minister of Communications and Mass Media

57. Mikhail Men: Minister of Construction, Housing, and Public Utilities

58. Vladimir Medinskiy: Minister of Culture

59. Sergey Shoygu: Minister of Defense


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60. Maksim Oreshkin: Minister of Economic Development

61. Olga Vasilyeva: Minister of Education and Science

62. Aleksandr Novak: Minister of Energy

63. Aleksandr Galushka: Minister of Far East Development

64. Anton Siluanov: Minister of Finance

65. Sergey Lavrov: Minister of Foreign Affairs

66. Veronika Skvortsova: Minister of Health

67. Denis Manturov: Minister of Industry and Trade

68. Vladimir Kolokoltsev: Minister of Internal Affairs

69. Aleksandr Konovalov: Minister of Justice

70. Maksim Topilin: Minister of Labor and Social Protection

71. Sergey Donskoy: Minister of Natural Resources and Ecology

72. Lev Kuznetsov: Minister of North Caucasus Affairs

73. Pavel Kolobkov: Minister of Sports

74. Maksim Sokolov: Minister of Transportation

Other senior political leaders

75. Valentina Matviyenko: Chairwoman, Federation Council

76. Sergey Naryshkin: Director, Foreign Intelligence Service (SVR)

77. Vyacheslav Volodin: Chairman, State Duma

78. Sergey Ivanov: Presidential Special Representative for the Environment, Ecology, and
Transport

79. Nikolay Patrushev: Secretary, Security Council

80. Vladimir Bulavin: Head, Federal Customs Service

81. Valery Gerasimov: First Deputy Minister of Defense and Chief of the General Staff

82. Igor Korobov: Chief, Main Intelligence Directorate General Staff (GRU), Ministry of
Defense

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83. Rashid Nurgaliyev: Deputy Secretary, Security Council

84. Georgiy Poltavchenko: Governor of Saint Petersburg

85. Sergey Sobyanin: Mayor of Moscow

86. Yuriy Cbayka: Prosecutor General

87. Aleksandr Bastrykin: Head, Investigative Committee

88. Viktor Zolotov: Director, Federal National Guard Service

89. Dmitriy Kochnev: Director, Federal Protection Service

90. Aleksandr Bortnikov: Director, Federal Security Service (FSB)

91. Audrey Artizov: Head, Federal Archive Agency

92. Yuriy Chikhanchin: Head, Financial Monitoring Federal Service

93. Aleksandr Linets: Head, Presidential Main Directorate for Special Programs

94. Aleksandr Kolpakov: Head, Presidential Property Management Directorate

95. Valeriy Tikhonov: Head, State Courier Service

96. Aleksey Miller: Chief Executive Officer, Gazprom

97. Igor Sechin: Chief Executive Officer, Rosneft

98. German Gref: Chief Executive Officer, Sberbank

99. Oleg Belozerov: General Director, Russian Railways

100. Andrey Kostin: Chainnan Management Board, VTB

101. Sergey Chemezov: Chief Executive Officer, Rostec

102. Oleg Budargin: Chief Executive Officer, Rosseti

103. Boris Kovalchuk: Chief Executive Officer, Inter RAO

104. Aleksey Likhachcv: General Director, Rosatom

105. Nikolay Tokarev: Chief Executive Officer, Transneft

106. Andrey Akimov: Chief Executive Officer, Gazprombank

107. Nail Maganov: General Director, Tatneft

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108. Vitaliy Savelyev: Chief Executive Officer, Aeroflot

109. Andrey Shishkin: Chief Executive Officer, ANK Bashneft

110. Ymiy Slyusar: Chief Executive Officer, United Aircraft Corporation

111. Nikolay Shulginov: Chief Executive Officer, RusHydro

112. Sergey Gorkov: Chief Executive Officer, Vneshekonombank

113. Sergey Ivanov (Jr): Chief Executive Officer, ALROSA

114. Roman Dashkov: Chief Executive Officer, Sakhalin Energy


Oligarchs

The 'Putin list': A Who's Who of Russia's political and
business elite

The US State Department defined oligarchs as
individuals with an estimated net worth of $1 billion
or more.

Read more: The ‘Putin list’ – A Who’s Who of
Russia’s political and business elite

1. Aleksandr Abramov

2. Roman Abramovich

3. Aras Agalarov

4. Farkhad Akhmedov

5. Vagit Alekperov

6. Igor Altushkin

7. Aleksey Ananyev

8. Dmitry Ananyev

9. Vasiliy Anisimov

10. Roman Avdeyev

11. Petr Aven


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12. Yelena Baturina

13. Aleksey Bogachev

14. Vladimir Bogdanov

15. Leonid Boguslavskiy

16. Audrey Bokarev

17. Oleg Boyko

18. Nikolay Buynov

19. Oleg Deripaska

20. Aleksandr Dzhaparidze

21. Leonid Fedun

22. Gleb Fetisov

23. Mikhail Fridman

24. Aleksandr Frolov

25. Filaret Galchev

26. Sergey Galitskiy

27. Valentin Gapontsev

28. Sergey Gordeyev

29. Andrey Guryev

30. Yuriy Gushchin

31. Mikhail Gutseriyev

32. Sait-Salam Gutseriyev

33. Zarakb Iliyev

34. Dmitriy Kamenshchik

35. Vyacheslav Kantor

36. Sanwel Karapetyan

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37. Yevgeniy Kasperskiy

38. Sergey Katsiyev

39. Suleyman Kerimov

40. Igor Kesayev

41. Danil Khachatmov

42. German Khan

43. Viktor Kharitonin

44. Aleksandr Klyachin

45. Petr Kondrashev

46. Andrey Kosogov

47. Yuriy Kovalchuk

48. Andrey Kozitsyn

49. Aleksey Kuzmichev

50. Lev Kvetnoy

51. Vladimir Lisin

52. Anatoliy Lomakin

53. Ziyavudin Magornedov

54. Igor Makarov

55. Iskander Makhmudov

56. Aleksandr Mamut

57. Andrey Melnichenko

58. Leonid Mikhelson

59. Yuriy Milner

60. Boris Mints

61. Andrey Molchanov

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62. Aleksey Mordashov

63. Vadim Moshkovich

64. Aleksandr Nesis

65. God Nisanov

66. Aleksandr Ponomarenko

67. Sergcy Popov

68. Vladimir Potanin

69. Mikhail Prokhorov

70. Dmitriy Pumpyanskiy

71. Megdet Rakhimkulov

72. Andrey Rappoport

73. Viktor Rashnikov

74. Arkadiy Rotenberg

75. Boris Rotenberg

76. Dmitriy Rybolovlev

77. Ayrat Shaymiyev

78. Radik Shaymiyev

79. Kirill Shamalov

80. Yuriy Sheller

81. Albert Shigabutdinov

82. Mikhail Shishkhanov

83. Leonid Simanovskiy

84. Audrey Skoch

85. Aleksandr Skorobogatko

86. Rustem Sulteyev

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87. Aleksandr Svetakov

88. Gennadiy Timchenko

89. Oleg Tinkov

90. Roman Trotsenko

91. Alisher Usmanov

92. Viktor Vekselberg

93. Arkadiy Volozh

94. Vadim Yakunin

95. Vladimir Yevtushenkov

96. Gavril Yushvayev




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